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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK




    AKHMED GADZHIEVICH BILALOV,

                                 Plaintiff,        20-Civ-09153 (AT) (JW)




                     -against-


  HERMAN GREF, SBERBANK CIB USA, INC.,
  SBERBANK OF RUSSIA PJSC, and DOES 1-
  100 inclusive,

                                 Defendants.




                  PLAINTIFF AKHMED GADZHIEVICH BILALOV’S
                         EX PARTE EMERGENCY MOTION
                    FOR AN ASSET FREEZE AND OTHER RELIEF



                                                SHPIGEL LAW. P.C
                                                Irina Shpigel
                                                Counsel for Plaintiff
                                                250 Greenwich Street, 46th Floor
                                                New York, New York 10007
                                                E-mail: ishpigel@iselaw.com
                                                Tel (212) 390-1913
                                                Fax (646) 355-0242



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       Plaintiff AKHMED GADZHIEVICH BILALOV (hereinafter "Mr. Bilalov" or "Plaintiff")

hereby moves the Court, on an ex parte emergency basis, for an order freezing assets and for other

emergency relief, including an order to show cause, against defendants HERMAN GREF,

SBERBANK CIB USA, INC., SBERBANK OF RUSSIA PJSC (collectively, "Sberbank

Defendants"), to prevent the further dissipation or expatriation of assets.

       This motion is made pursuant to Rule 65 of the Federal Rules of Civil Procedure and Local

Civil Rule 6.1, and is supported by the Second Amended Complaint, a Proposed Order, the

Declaration of Irina Shpigel pursuant to Local Rule 6.1(d), and in support of the motion and the

Memorandum of Law.

       Plaintiff seeks an order (1) freezing the assets that are owned by, or under the control of,

Sberbank Defendants and Herman Gref, (2) permitting immediate discovery of documents from

Sberbank Defendants, and (4) preventing Sberbank Defendants from destroying or altering

documents.

       As described in the Memorandum of Law and the Declaration of Irina Shpigel pursuant to

Local Rule 6.1(d), Plaintiff makes this motion on an emergency ex parte basis.

       For the reasons stated in the Plaintiff Memorandum of Law and above, the Plaintiff,

therefore, asks that its emergency motion be granted and that an Order in the form of that attached

to this filing be entered by the Court.



Dated: March 8th, 2022


                                                             SHPIGEL LAW. P.C
                                                             Irina Shpigel
                                                             Counsel for Plaintiff
                                                             250 Greenwich Street, 46th Floor
                                                             New York, New York 10007
                                                             E-mail: ishpigel@iselaw.com
                                                             Tel (212) 390-1913
                                                             Fax (646) 355-0242
